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FILED

UNITED STATES DISTRICT COURT ]
MAY 2 2021
CLERK, U.S/DISTRICT COUR’

WESTERN DISTRICT OF TEXAS

  
  

 

  

SAN ANTONIO DIVISION
DISTRICT OF TEXAS

UNITED STATES OF AMERICA § EPUTY CLERK

a
VS § NO. 5:19-CR\00369-XR-6

§
JOEL MARTINEZ §

ORDER

 

On this day came Defendant’s Motion Modify the Conditions of Release. After

consideration of same, this Court is of the opinion that said motion be

  

IT IS HEREBY F

 

 

 

SIGNED on this il of /V e _ , 2021.

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UNITED STATES DISTRICT JUDGE—
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